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                                UNITED STATES DISTRICT COURT

                               WESTERN DISTRICT OF WISCONSIN

                                             CASE NO. 3:21-cv-00110
Nadia Spencer

                          Plaintiff,         COMPLAINT FOR DAMAGES:

       v.                                      1. Violation of Fair Credit Reporting Act

TransUnion, LLC; Rise Financial, LLC

                          Defendants.




       COMES NOW Plaintiff Nadia Spencer, an individual, based on information and belief, to
allege as follows:

                                        INTRODUCTION
   1. This case arises under the Fair Credit Reporting Act, 15 U.S.C. § 1681s-2(b), 15 U.S.C.
       § 1681e(b), 15 U.S.C. § 1681i(a)(2)(A)), 15 U.S.C. § 1681i(a)(4)), and15 U.S.C.
      §1681i(a)(5)(A)).
   2. Plaintiff seeks redress for the unlawful and deceptive practices committed by the
       Defendants in connection with their inaccurate, misleading, or incomplete reporting of
       Plaintiff’s debts included and discharged in Plaintiff’s Chapter 7 bankruptcy.
   3. Defendant Rise Financial, LLC is reporting Plaintiff’s account as charged off and
       “transferred or sold.” However, Rise did not report who it sold or transferred the debt

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    to despite being required to do so and no other tradeline on Plaintiff’s credit report
    appears linked to the Rise account.
4. As a result, Plaintiff’s discharged debt remains untraceable and appears that Plaintiff is
    still obligated to pay the charged-off amount.
5. Such reporting is wholly inaccurate, misleading, and adversely impacts Plaintiff’s
    credit worthiness.
6. Plaintiff’s credits score has been adversely impacted by the reporting.
7. Plaintiff’s credit reports have been disseminated to third parties since the entry of her
    discharge and Plaintiff has been unable to obtain favorable interest rates as a result of
    the reporting by Rise.
8. The United States Congress has found the banking system is dependent upon fair and
    accurate credit reporting. Inaccurate credit reports directly impair the efficiency of the
    banking system, and unfair credit reporting methods undermine the public confidence,
    which is essential to the continued functioning of the banking system.
                             JURISDKCUTION & VENUE

9. Plaintiff re-alleges and incorporates herein by this reference the allegations in each and
    every paragraph above, fully set forth herein.
10. This Court has jurisdiction under 28 U.S.C. §§ 1331, 1337, and 1367, and 15 U.S.C. §
    1681
11. This venue is proper pursuant to 28 U.S.C. §1391(b)(1).
12. Plaintiff is a resident of the State of Wisconsin and resides within this judicial district.
                              GENERAL ALLEGATIONS
13. Plaintiff alleges that each and every defendant data furnisher was included in Plaintiff’s
    Chapter 7 bankruptcy filing or had notice of Plaintiff’s bankruptcy filing and discharge.
14. Plaintiff alleges that Rise received notice of Plaintiff’s chapter 7 filing or had reason to
    know of Plaintiff’s bankruptcy filing and discharge.
15. Plaintiff alleges that each and every Defendant is familiar with credit reporting industry
    standards and subscribes thereto.




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16. Plaintiff alleges that each and every Defendant understands that deviation from credit
   reporting industry standards can and often does result in denial of credit, higher interest
   rates, and prompts those making credit decisions to draw a more negative inference
   from the reported data than if the Defendant reported in accordance with the recognized
   industry standard.
17. Plaintiff alleges that all actions alleged herein by Defendants were done knowingly,
   intentionally, and in reckless disregard for credit reporting industry standards in an
   attempt to purposefully undermine Plaintiff’s ability to reorganize and repair Plaintiff’s
   FICO Score.
18. In the alternative Plaintiff alleges that each and every Defendant’s actions was the
   result of reckless policies and procedures that inevitably led to inaccurate, misleading,
   or incomplete credit reporting.
                   FICO, Inc.
19. FICO is a leading analytics software company with its principal headquarters located in
   San Jose California. FICO has over 130 patents related to their analytics and decision
   management technology, and regularly uses mathematical algorithms to predict
   consumer behavior including credit risk.
20. The FICO Score has become the standard measure of consumer credit risk in the United
   States and is used in ninety percent of lending decisions.
21. A FICO score consists of a three-digit number summarizing a consumer’s credit risk or
   likelihood to repay a loan. FICO periodically updates its scoring models resulting in
   multiple FICO Score versions.
22. Base FICO Scores range from 300 to 850, while industry-specific FWICO Scores range
   from 250-900. A higher FICO Score demonstrates lower credit risk or less likelihood
   of default.
23. Different lenders use different versions of FICO Scores when evaluating a consumer’s
   credit worthiness.
24. There are 28 FICO Scores that are commonly used by lenders.


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25. A consumer’s FICO Score is calculated based solely on information in consumer credit
   reports maintained at credit reporting agencies (CRAs).
26. The three largest CRAs are Experian Information Solutions, Inc.; Equifax, Inc. and
   Transunion, LLC.
27. FICO does not control what information is provided on a consumer’s credit report.
   Instead, the scoring models or algorithms are based on the premise that information
   provided by the CRAs is accurate and complies with credit reporting industry
   standards.
28. There are five key factors that a FICO Score considers: 1) Payment History 2) Amount
   of Debt 3) Length of Credit History 4) New Credit and 5) Credit Mix.
29. Each of the five factors is weighted differently by FICO.
30. 35% of a consumer’s FICO Score relates to payment history, 30% relates to the amount
   of debt, 15% relates to the length of credit history, 10% relates to new credit, and the
   last 10% relates to a consumer’s credit mix or the different types of debts reported.
31. Payment history refers to whether a consumer has paid their bills in the past, on time,
   late or missed payments. The more severe, recent, and frequent the late payment
   information, the greater the impact on a FICO Score. Public record items such as
   bankruptcy, foreclosure, judgments, and wage garnishments are also considered part of
   a consumer’s payment history.
32. In factoring the severity of delinquent payments, a FICO Score considers how late the
   payment continues to be, how much is owed, how recently this occurred, and how
   many delinquent accounts exist.
33. Once a delinquent account has been remedied the longer the account stays current the
   more a consumer’s FICO Score should increase.
34. FICO Scores are entirely dependent upon information provided by data furnishers
   (DFs) to CRAs.
35. The FICO scoring formula treats both Chapter 7 and Chapter 13 Bankruptcies similarly
   in terms of their impact on one’s FICO Score. Specifically, both Chapters have the


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   same level of severity with respect to their FICO Score and for both, FICO uses the
   FILING DATE to determine how long ago the bankruptcy took place.
         e-OSCAR
36. E-OSCAR is the web-based Metro 2 compliant system developed by Experian
   Information Solutions, Inc.; Equifax, Inc.; TransUnion, LLC and Innovis that enables
   DFs and CRAs to create and respond to consumer credit disputes.
37. When a consumer sends a dispute letter to a CRA the CRA then sends an automated
   credit dispute verification (ACDV) via e-Oscar to the DF.
38. The ACDV contains within it Metro 2 codes next to certain data fields associated with a
   credit file e.g. “Account Type” “07” (07 in Metro 2 refers to a Charge Account).
39. regarding a consumer’s credit worthiness.

           Metro 2
40. The Consumer Data Industry Association is an international trade association
   representing the consumer credit, mortgage reporting, employment and tenant screening
   and collection service industries.
41. The credit reporting industry has adopted a standard electronic data reporting format
   called the Metro 2 format. The Metro 2 format was developed by the CDIA in an effort
   to universally report debts in a particular manner that is understood to be the most
   accurate way in which to report a debt. Specifically, Metro 2 format was designed to
   allow reporting of the most accurate and complete information on consumer’s credit
   history.
42. The CDIA’s Metro 2 format is the credit reporting industry standard for accurate credit
   reporting.
43. The credit reporting industry at large depends upon Metro 2 and the CDIA’s
   recommendations for reporting debt accurately.
44. The CDIA is the expert on accurate credit reporting. In support of her allegations
   Plaintiff avers the following:
       a. The CDIA offers a FCRA certificate program for all CRAs.
       b. The CDIA offers a FCRA awareness program for all CRAs.


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       c. The CDIA offers a FCRA Certificate program for DFs.
       d. The CDIA offers a FCRA awareness program for DFs.
       e. The CDIA offers a Metro 2 Learning system to provide detailed instructions on
           the use of Metro 2 format to ensure understanding of the reporting guidelines for
           each field of the Metro 2 Format as well as the relationship between multiple
           fields.
       f. The CDIA hosts workshops developed and authorized by Equifax, Experian,
           Innovis, and Transunion.
       g. The CDIA developed a credit reporting resource guide for accurately reporting
           credit.
45. The CDIA’s Metro 2 is accepted by all CRAs.
46. The credit reporting accepted industry standards for reporting Metro 2 accurately are
   found in the CDIA’s credit reporting resource guide (CRRG).
47. The CRRG outlines the industry standards for most accurately reporting debts using
   Metro 2.
48. The three main credit bureaus helped draft the CRRG.
49. The CRRG is not readily available to the public. It can be purchased online for $229.45.
50. Even if a buyer is ready willing and able to pay for the CRRG, the CDIA will NOT grant
   access to the guide unless the buyer represents an organization included in the Metro 2
   Access Policy.
51. When FICO calculates credit scores the algorithms use Metro 2 information based on
   industry standards established by the CDIA.
52. The algorithms used by FICO in determining a consumer’s credit score are premised on
   the Metro 2 data received comporting with the CDIA’s recommendations for accurate
   credit reporting.
53. If the Metro 2 data received by FICO deviates from industry standards an inaccurate or
   incorrect FICO Score results. If the resulting FICO Score is lower a consumer will be
   considered a higher credit risk resulting in less favorable lending terms.


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54. All three major CRAs are members of the CDIA
55. The CDIA is on record that they know, understand, and accept mortgages are generally
   non-dischargeable under 11 U.S.C. §1328(c)(1) and 11 U.S.C. § 1322(b)(5).
           Consumer Information Indicator
56. When a consumer files for bankruptcy protection certain credit reporting industry
   standards exist.
57. Certain Metro 2 data is regularly expected and calculated by FICO when determining a
   consumer’s credit worthiness.
58. The Consumer Information Indicator (CII) is a critical field in the Metro 2 Format that
   indicates a special condition that applies to a specific consumer.
59. Under Metro 2 the CII must be reported only on the consumer to whom the information
   applies.
60. It is the credit reporting industry standard to report a very specific CII upon the filing of
   a consumer bankruptcy.
61. In the consumer bankruptcy context CII Metro 2 Code “A” denotes that a petition for
   Chapter 7 has been filed, is active, but no discharge has been entered.
62. CII Metro 2 Code “D” indicates that a Chapter 13 petition has been filed, is active, but
   no discharge entered. This is usually translated on a consumer credit report as “Wage
   Earner Plan” or “WEP” in the “Account Status” portion of a trade line. Such reporting
   alerts any potential lender that the account is no longer in a collectable status but is being
   handled by a Chapter 13 trustee.
63. The CII Metro 2 Code “Z” indicates that a bankruptcy petition has been filed but the
   chapter is undesignated/unknown.
64. The CII Metro 2 Code “E” denotes that a Chapter 7 bankruptcy has been discharged.
65. The CII Metro 2 Code “H” denotes that a Chapter 13 bankruptcy has been discharged.
66. The CII field is a critical field for consumers and directly relates to and impacts a
   consumer’s credit worthiness.




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67. The result lowers a consumer’s credit score and makes a consumer appear much less
    credit worthy.
            Transferring Accounts
68. Accounts that appear on a consumer’s credit report should tell a story about the history
    of the account and its ultimate disposition.
69. When creditors improperly transfer accounts, a consumer’s account story becomes
    disorganized, confusing, and in the instant case, results in a consumer being incorrectly
    labeled as less credit worthy because a debt that can no longer be collected upon remains
    on a credit report in a collectable manner.
70. The CRRG’s guidelines for transferring or selling accounts is simple but rarely followed
    by data furnishers.
71. There are two contemplated ways in which an account can be sold or transferred under
    the CRRG.
72. The first results in a single trade line that provides all the details of the original account
    as well as the name and servicer/collector on the transferred account.
73. The second results in two tradelines that contain the account’s entire history.
74. The preferred method, and most accurate way in which to report an account is for one
    single tradeline to be reported with the entire account history contained within that
    tradeline.
75. The preferred method involves replacing or updating the original tradeline with the new
    account / servicer information, with the original creditor information listed in the
    corresponding parts of the overall tradeline.
76. The second contemplated method results in two tradelines with both the original tradeline
    reporting the account history up until the transfer/sale and the new account/tradeline
    picking up where the transfer left off.
77. The original creditor must list who the new servicer/owner of the account is and the new
    creditor must list the original creditor somewhere in the tradeline information.




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 78. Reporting that way under the second method allows potential lenders to trace the history
      of the account and allow a complete story of the consumers account to appear on the
      credit report.
 79. The CRRG does not contemplate, suggest, or otherwise imply a hypothetical outside the
      two methods listed herein.
 80. Specifically, the CRRG does not contemplate a situation where accounts are simply
      transferred without all information being converted into a new account or a second
      traceable tradeline appearing without any traceable information.
 81. The CRRG is clear that parties involved in the transfer or sale of accounts need to
      communicate to ensure accurate and complete reporting.
           Plaintiffs Bankruptcy Filing
 82. Plaintiff filed for Chapter 7 bankruptcy protection on May 1, 2019 in order to discharge
      various debts and improve Plaintiff’s credit worthiness and FICO Score.
 83. Plaintiff received her Chapter 7 discharge on August 5, 2019.
84. On September 3, 2020 Plaintiff ordered a credit report from Experian, Equifax, and
      TransUnion to ensure proper reporting by Plaintiff’s creditors after entry of her
      discharge.
85.   Plaintiff noticed several different trade lines on the September 3, 2020 credit report all
      reporting inaccurate, misleading, or incomplete information that did not comply with
      credit reporting industry standards.
86.   An account with Rise was reporting Plaintiff’s account as in collections and charged-
      off rather than included/discharged in bankruptcy.
87.   In response, Plaintiff disputed the inaccurate Rise Credit tradeline via certified mail
      with Experian, Equifax, and TransUnion on September 9, 2020.
88.   Plaintiff’s dispute letter specifically put defendant Rise on notice that Plaintiff had filed
      for bankruptcy and that the account should not be listed as charged-off.

89. Plaintiff is informed and believes that each CRA received Plaintiff’s dispute letter and
      in response sent Plaintiff’s dispute to each DF via an ACDV through e-OSCAR.




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90. On October 16, 2020 after the statutory time period had elapsed for Plaintiff to receive
      a reinvestigation report from the CRAs, Plaintiff ordered a second credit report from
      Experian, TransUnion Equifax for the sole purpose to ensure Plaintiff’s accounts had in
      fact been updated.
91.   The Rise account listed above had not been updated and were still appearing on
      Plaintiff’s TransUnion report and reporting the account was charged-off rather than
      included/discharged in bankruptcy.
      Inaccuracy – Rise
92.   Plaintiff was frustrated to see that Defendant Rise did not properly update the account
      but instead continued to report Plaintiff’s account as being charged off.
93.   Rise’s failure to update the account makes it appear as though Rise is still owed money
      and can collect on the account.
94.   There is no information regarding the Rise that would inform potential lenders or
      anyone else viewing the credit report that the account has been included/discharged in
      bankruptcy.
95.   Instead, Rise’s reporting makes it seem as if the debt is still outstanding and that
      Plaintiff is still liable for the account, despite Plaintiff receiving a bankruptcy
      discharge.
96.   Therefore, it appears that Rise can still collect against Plaintiff and that Plaintiff is
      ultimately responsible for the Rise liability.
97.   In addition, to the extent that Rise transferred or sold its account, it failed to list who it
      sold or transferred the account to on the tradeline.
98.   No other tradeline on Plaintiff’s TransUnion credit report contain any subsequent
      account information related to the Rise account.
99.   Rise has failed to list who the debt was transferred to and simply lists the account as
      “charged off” and “transferred/sold” without any additional information.
100. Given that only a single tradeline exists with respect to Plaintiff’s debt, Rise should
      have updated the CII on Plaintiff’s account to reflect that the debt was discharged.


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             Willfulness
101. This was not a negligent act by Defendant Rise but instead an intentional act to
     purposefully undermine Plaintiff’s ability to effectively restore Plaintiff’s credit
     through bankruptcy.
102. Rise is not following industry standards and is instead reporting incorrect information
     with the hope that Plaintiff will make a payment on the account.
103. Once Rise received Plaintiff’s dispute rather correct the date opened Rise instead
     ignored the dispute and continued to report the inaccurate information.
104. Plaintiff believes the reporting of the inaccurate and misleading information was done
     by Rise in order to have her make a payment on the account in order to have the
     negative information removed from her credit report.
105. To the extent that Rise allegedly transferred the account, Rise transferred the account
     without following proper transferring procedure. Rise did not indicate the party that
     received the account.
106. Such a scheme directly undermines the integrity of not only the bankruptcy court but
     also the integrity of the credit reporting system at large.
             Damages
107. As a result of the incorrect reporting, Plaintiff has suffered economic loss, diminished
     credit, emotional harm, and excessive stress resulting in doubt as to the effectiveness of
     the Bankruptcy Code.
108. Plaintiff is frustrated and annoyed that her credit has not improved since the discharge of
     her chapter 7 bankruptcy as she believed the account with Rise was discharged.
109. Plaintiff’s anxiety and stress has increased significantly as she learned that the Rise
     account was not acknowledging the bankruptcy discharge and believes that Rise can still
     collect on the account.
110. Plaintiff’s credit score has remained at a low level as a result of the Rise reporting,
     preventing her from rebuilding her credit and impacting her ability to obtain a more
     favorable interest rate on extensions of credit.


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111. The actions of TransUnion and Rise as alleged herein are acts in violation of the Fair
     Credit Reporting Act, 15 U.S.C. § 1681s-2(b).


                               FIRST CAUSE OF ACTION
                  (Violation of Fair Credit Reporting Act 15 U.S.C. § 1681e(b))
                                       Against Defendants)

     TransUnion – Failure to Assure Credit Reporting Accuracy.

112. Plaintiff realleges and incorporates herein the allegation in each and every paragraph
     above as though fully set forth herein.
113. TransUnion violated 15 U.S.C. § 1681e(b) by failing to establish and/or to follow
     reasonable procedures to assure maximum possible accuracy in the preparation of
     Plaintiff’s credit reports and credit files it published and maintained concerning Plaintiff.
114. Had TransUnion maintained reasonable procedures to assure maximum accuracy
     TransUnion would never have allowed Defendant Rise to report the account as described
     herein.
115. As a result of TransUnion’s violation of 15 U.S.C. § 1681e(b), Plaintiff suffered actual
     damages, including but not limited to: diminished credit, damage to reputation,
     embarrassment, humiliation, and other mental and emotional distress.
               Willfulness
116. The violations described herein by TransUnion was willful, specifically the Credit
     Bureaus have intentionally and purposefully set up a system where inaccuracies are not
     only probable but inevitable.
117. TransUnion intentionally send consumer disputes to employees who do not live within
     the continental United States.
118. This is done intentionally to hide and or subvert a consumer’s ability to confront
     individual directly responsible for approving accurate reporting.
119. These employees for Defendant TransUnion receive little to know training concerning
     how to accurately report consumer debt.
120. Instead, these employees are simply instructed to parrot whatever information a data
     furnisher provides regardless of whether or not that information is accurate. See Saez v.
     Trans Union, LLC, 621 F.Supp. 2d 1074, 1083, 1088 (D.Or. 2007); Grigoryan v.


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     Experian Info. Sols., Inc., 84 F. Supp. 3d 1044, 1091 (C.D. Cal. 2014); Haykuhi
     Avetisyan v. Experian Info Sols., No. CV 14-05276-AB (ASX)
121. TransUnion employees are regularly expected to review and approve over 90 disputes per
     day rendering less than five minutes to review, investigate, and respond to each dispute
     received.
122. TransUnion has intentionally setup this system in order to undermine, hide, and otherwise
     frustrate consumers’ ability to properly dispute and correct credit reports.
123. TransUnion knew Plaintiff filed bankruptcy and received a discharge and yet somehow
     allowed Rise to report inaccurately and obviously outside of recognized industry
     standards.
124. Given that TransUnion helped draft the CRRG, and Plaintiff specifically referenced
     industry guidelines in the dispute letter TransUnion knew that the Rise account was not
     reporting in a manner consistent with industry standards i.e. accurate, but chose to do
     nothing.
125. Consequently, Defendant TransUnion is liable for punitive damages in an amount to be
     determined by the Court pursuant to 15 U.S.C. § 1681n. In the alternative, TransUnion
     were at least negligent, which entitles Plaintiff to recovery under 15 U.S.C. § 1681o.
126. Plaintiff is entitled to recover actual damages, statutory damages, costs and attorney’s
     fees from TransUnion in an amount to be determines by the Court pursuant to 15 U.S.C.
     § 1681n and § 1681o.
                               SECOND CAUSE OF ACTION
                  (Violation of Fair Credit Reporting Act 15 U.S.C. § 1681s-2(b))
                                        Against Defendants)

     Rise – Failure to Reinvestigate.

127. Plaintiff realleges and incorporates herein the allegation in each and every paragraph
     above as though fully set forth herein.
128. 15 USC 1681s-2(b) and 15 USC 1681i-(a)1 prohibits furnishers from providing any
     information relating to a consumer to any consumer reporting agency if the person knows
     or has reasonable cause to believe that the information is inaccurate or misleading and
     requires a furnisher to update and or correct inaccurate information after being notified
     by a consumer reporting agency of a dispute by a consumer.


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129. Defendant Rise violated section 1681s-2(b) by failing to conduct a reasonable
     investigation and re-reporting misleading and inaccurate account information.
130. The CRAs provided notice to Rise that Plaintiff was disputing the inaccurate and
     misleading information, but Rise failed to conduct a reasonable investigation of the
     information.
131. Based on Plaintiff’s dispute, Rise should have known its account was included in
     Plaintiff’s Chapter 7 discharge.
132. The most basic investigation would include a simple review of well-established credit
     reporting industry standards.
133. Plaintiff alleges did not review well established industry standards for credit reporting.
134. If Rise had reviewed such standards Rise would have both seen its reporting was not in
     compliance and consequently inaccurate and or incomplete.
135. Such an investigation would be unreasonable.
136. Plaintiff also alleges that Rise did not investigate whether Plaintiff filed for bankruptcy
     and whether a discharge was entered, as the tradeline at issue makes no reference to a
     bankruptcy filing.
137. The lack of investigation is unreasonable.
     TransUnion – Failure to Reinvestigate Disputed Information.

138. Plaintiff realleges and incorporates herein the allegation in each and every paragraph
     above as though fully set forth herein.
139. After Plaintiff disputed the accounts mentioned above, TransUnion was required to
     conduct a reasonable investigation and to delete any information that was not accurate
     under 15 USC 1681i-(a)1.
140. TransUnion failed to conduct a reasonable investigation and failed to correct the
     misleading and or inaccurate statements on the account within the statutory time
     frame or at all.
141. Plaintiff alleges that TransUnion has its own independent duty to conduct a
     reasonable investigation 15 USC 1681i-(a)1.
142. TransUnion is not a passive entity bound to report whatever information a data
     furnisher, such as Rise, provides.



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143. Plaintiff alleges that TransUnion are readily familiar with Metro 2 guidelines and
     credit reporting industry standards given that Experian and TransUnion helped draft
     said guidelines.
144. Given the aforementioned, Plaintiff alleges that TransUnion can and does suppress
     inaccurate information from being reported when DFs provide inaccurate
     information.
145. TransUnion can and does instruct DFs on how to properly report certain accounts
     from time to time upon request from the DF.
146. TransUnion failed to conduct a reasonable investigation because any basic
     investigation would have uncovered that certain DFs were not following credit
     reporting industry standards.
147. TransUnion therefore did not do the most basic investigation regarding credit
     reporting industry standards otherwise the aforementioned would have been
     uncovered and the error corrected.
148. TransUnion intentionally, willfully or with reckless disregard for Plaintiff’s accuracy
     did no investigation whatsoever given that TransUnion’s general policy is to simply
     parrot whatever information a data-furnishers sends.
149. Such policy and procedure inherently leads to inaccurate information being reported
     and therefore such an investigation is wholly unreasonably and reckless i.e. willful.
                              THIRD CAUSE OF ACTION
                (Violation of Fair Credit Reporting Act 15 U.S.C. § 1681i(a)(4))
                                      Against Defendants)

     TransUnion – Failure to Review and Consider All Relevant Information.

150. Plaintiff realleges and incorporates herein the allegation in each and every paragraph
     above as though fully set forth herein.
151. TransUnion violated 15 U.S.C. § 1681i(a)(4) by failing to review and consider all
     relevant information submitted by Plaintiff.
152. As a result of TransUnion’s violation of 15 U.S.C. § 1681i(a)(4), Plaintiff suffered actual
     damages, including but not limited to, damage to reputation, embarrassment, humiliation,
     and other mental and emotional distress.




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153. The violations by TransUnion was willful, rendering TransUnion individually liable for
     punitive damages in an amount to be determines by the Court pursuant to 15 U.S.C. §
     1681n.
154. In the alternative, TransUnion was negligent, which entitles Plaintiff to recovery under 15
     U.S.C. § 1681o.
155. Plaintiff is entitled to recover actual damages, statutory damages, costs and attorney’s
     fees from TransUnion in an amount to be determines by the Court pursuant to 15 U.S.C.
     § 1681n and § 1681o.
                             FOURTH CAUSE OF ACTION
              (Violation of Fair Credit Reporting Act 15 U.S.C. § 1681i(a)(5)(A))
                                      Against Defendants)

     TransUnion – Failure to Delete Disputed and Inaccurate Information.

156. Plaintiff realleges and incorporates herein the allegation in each and every paragraph
     above as though fully set forth herein.
157. TransUnion violated 15 U.S.C. § 1681i(a)(5)(A) by failing to promptly delete the
     disputed inaccurate items of information from Plaintiff’s credit file or modify the item of
     information upon a lawful reinvestigation.
158. As a result of TransUnion’s violation of 15 U.S.C. § 1681i(a)(5)(A), Plaintiff suffered
     actual damages, including but not limited to, damage to reputation, embarrassment,
     humiliation, and other mental and emotional distress.
159. The violations by TransUnion were willful, rendering TransUnion individually liable for
     punitive damages in an amount to be determines by the Court pursuant to 15 U.S.C. §
     1681n.
160. In the alternative, TransUnion were negligent, which entitles Plaintiff to recovery under
     15 U.S.C. § 1681o.
161. Plaintiff is entitled to recover actual damages, statutory damages, costs and attorney’s
     fees from TransUnion in an amount to be determines by the Court pursuant to 15 U.S.C.
     § 1681n and § 1681o.

     Wherefore, Plaintiff prays for judgment as hereinafter set forth.
                                 PRAYER FOR RELIEF
     WHEREFORE, Plaintiff prays for judgment as follows:

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   1. For preliminary and permanent injunctive relief to stop Defendants from
       engaging in the conduct described above;
   2. Award statutory and actual damages pursuant to 15 U.S.C. § 1681n,
   3. Award punitive damages in order to deter further unlawful conduct pursuant to
       15 U.S.C. § 1681n,
   4. Award attorney’s fees and costs of suit incurred herein pursuant to 15 U.S.C. §
       1681n & o,
   5. For determination by the Court that Creditor’s policies and practices are
       unlawful and in willful violation of 15 U.S.C. § 1681n, et seq.; and
   6. For determination by the Court that Creditor’s policies and practices are
       unlawful and in negligent violation of 15 U.S.C. § 1681o.


                                             Gale, Angelo, Johnson, & Pruett, P.C.
Dated: February 16, 2021                     /s/ Elliot Gale
                                             Elliot Gale
                                             Attorney for Plaintiff

                       DEMAND FOR JURY TRIAL

Plaintiff hereby demands trial of this matter by jury.
                                               Gale, Angelo, Johnson, & Pruett, P.C.

Dated: February 16, 2021                     /s/ Elliot Gale
                                             Elliot Gale
                                             Attorney for Plaintiff




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